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               Exhibit 5
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Section Title                                 Home Section             Author
M1:1.1 Chemical and physical data              M1 Malathion            Peter P. Egeghy
M1:1.2 Production and use                      M1 Malathion            Peter P. Egeghy
M1:1.3 Measurement and analysis                M1 Malathion            Peter P. Egeghy
M1:1.4 Occurrence and exposure                 M1 Malathion            Lin Fritschi
M1:1.5 Regulations and guidelines              M1 Malathion            Hans Kromhout
M1:2 Studies of cancer in humans               M1 Malathion            Isabelle Baldi
M1:3 Studies of cancer in experimental animals M1 Malathion            Gloria D. Jahnke
M1:4.1 Toxicokinetic data                      M1 Malathion            Matt Ross
M1:4.2.1 Genetic and related effects           M1 Malathion            Frank LeCurieux
M1:4.2.2 Receptor-mediated effects             M1 Malathion            Lauren Zeise
M1:4.2.3 Oxidative stress, inflammation and
                                               M1 Malathion            Ivan Rusyn
immunosuppression
M1:4.2.4 Altered cell proliferation            M1 Malathion            Ivan Rusyn
M1:4.2.5 Other mechanisms                      M1 Malathion            Ivan Rusyn
M1:4.3 Data relevant to comparisons across
                                               M1 Malathion            Matt Martin
agents and endpoints
M1:4.4 Cancer susceptibility data              M1 Malathion            Ivan Rusyn
M1:4.5 Other adverse effects                   M1 Malathion            Matt Martin
M1:4.6 Mechanistic considerations              M1 Malathion            Matt Martin

M2:1.1 Chemical and physical data              M2 Parathion            Peter P. Egeghy
M2:1.2 Production and use                      M2 Parathion            Peter P. Egeghy
M2:1.3 Measurement and analysis                M2 Parathion            Peter P. Egeghy
M2:1.4 Occurrence and exposure                 M2 Parathion            Lin Fritschi
M2:1.5 Regulations and guidelines              M2 Parathion            Hans Kromhout
M2:2 Studies of cancer in humans               M2 Parathion            John McLaughlin
M2:3 Studies of cancer in experimental animals M2 Parathion            Maria Consolato Sergi
M2:4.1 Toxicokinetic data                      M2 Parathion            Matt Ross
M2:4.2.1 Genetic and related effects           M2 Parathion            Frank LeCurieux
M2:4.2.2 Receptor-mediated effects             M2 Parathion            Lauren Zeise
M2:4.2.3 Oxidative stress, inflammation and
                                               M2 Parathion            Ivan Rusyn
immunosuppression
M2:4.2.4 Altered cell proliferation            M2 Parathion            Ivan Rusyn
M2:4.2.5 Other mechanisms                      M2 Parathion            Ivan Rusyn
M2:4.3 Data relevant to comparisons across
                                               M2 Parathion            Ivan Rusyn
agents and endpoints
M2:4.4 Cancer susceptibility data              M2 Parathion            Ivan Rusyn
M2:4.5 Other adverse effects                   M2 Parathion            Matt Martin
M2:4.6 Mechanistic considerations              M2 Parathion            Matt Ross

M3:1.1 Chemical and physical data              M3 Diazinon             Peter P. Egeghy
M3:1.2 Production and use                      M3 Diazinon             Peter P. Egeghy
M3:1.3 Measurement and analysis                M3 Diazinon             Peter P. Egeghy
M3:1.4 Occurrence and exposure                 M3 Diazinon             Teresa Rodriguez
M3:1.5 Regulations and guidelines              M3 Diazinon             Hans Kromhout
M3:2 Studies of cancer in humans               M3 Diazinon             Andrea 't Mannetje
M3:3 Studies of cancer in experimental animals M3 Diazinon             Gloria M. Calaf
M3:4.1 Toxicokinetic data                      M3 Diazinon             Matt Ross
M3:4.2.1 Genetic and related effects           M3 Diazinon             Frank LeCurieux
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Section Title                                Home Section              Author
M3:4.2.2 Receptor-mediated effects          M3 Diazinon                Lauren Zeise
M3:4.2.3 Oxidative stress, inflammation and
                                            M3 Diazinon                Ivan Rusyn
immunosuppression
M3:4.2.4 Altered cell proliferation         M3 Diazinon                Ivan Rusyn
M3:4.2.5 Other mechanisms                   M3 Diazinon                Ivan Rusyn
M3:4.3 Data relevant to comparisons across
                                            M3 Diazinon                Matt Martin
agents and endpoints
M3:4.4 Cancer susceptibility data           M3 Diazinon                Ivan Rusyn
M3:4.5 Other adverse effects                M3 Diazinon                Matt Martin
M3:4.6 Mechanistic considerations           M3 Diazinon                Lauren Zeise

M4:1.1 Chemical and physical data              M4 Glyphosate           Peter P. Egeghy
M4:1.2 Production and use                      M4 Glyphosate           Peter P. Egeghy
M4:1.3 Measurement and analysis                M4 Glyphosate           Peter P. Egeghy
M4:1.4 Occurrence and exposure                 M4 Glyphosate           Teresa Rodriguez
M4:1.5 Regulations and guidelines              M4 Glyphosate           Hans Kromhout
M4:2 Studies of cancer in humans               M4 Glyphosate           Francesco Forastiere
M4:3 Studies of cancer in experimental animals M4 Glyphosate           Charles (Bill) William Jameson
M4:4.1 Toxicokinetic data                      M4 Glyphosate           Matt Ross
M4:4.2.1 Genetic and related effects           M4 Glyphosate           Frank LeCurieux
M4:4.2.2 Receptor-mediated effects             M4 Glyphosate           Lauren Zeise
M4:4.2.3Oxidative stress, inflammation and
                                               M4 Glyphosate           Ivan Rusyn
immunosuppression
M4:4.2.4 Altered cell proliferation            M4 Glyphosate           Ivan Rusyn
M4:4.2.5Other mechanisms                       M4 Glyphosate           Ivan Rusyn
M4:4.3 Data relevant to comparisons across
                                               M4 Glyphosate           Matt Martin
agents and endpoints
M4:4.4Cancer susceptibility data               M4 Glyphosate           Ivan Rusyn
M4:4.5Other adverse effects                    M4 Glyphosate           Matt Martin
M4:4.6 Mechanistic considerations              M4 Glyphosate           Ivan Rusyn

M5:1.1 Chemical and physical data              M5 Tetrachlorvinphos    Peter P. Egeghy
M5:1.2 Production and use                      M5 Tetrachlorvinphos    Peter P. Egeghy
M5:1.3 Measurement and analysis                M5 Tetrachlorvinphos    Peter P. Egeghy
M5:1.4 Occurrence and exposure                 M5 Tetrachlorvinphos    Teresa Rodriguez
M5:1.5 Regulations and guidelines              M5 Tetrachlorvinphos    Hans Kromhout
M5:2 Studies of cancer in humans               M5 Tetrachlorvinphos    Aaron Blair
M5:3 Studies of cancer in experimental animals M5 Tetrachlorvinphos    Charles (Bill) William Jameson
M5:4 Mechanistic and other relevant data       M5 Tetrachlorvinphos    Frank LeCurieux
M5:4.1 Toxicokinetic data                      M5 Tetrachlorvinphos    Matt Ross
M5:4.2.1 Genetic and related effects           M5 Tetrachlorvinphos    Frank LeCurieux
M5:4.2.2 Receptor-mediated effects             M5 Tetrachlorvinphos    Lauren Zeise
M5:4.2.5 Other mechanisms                      M5 Tetrachlorvinphos    Lauren Zeise
M5:4.3 Data relevant to comparisons across
                                               M5 Tetrachlorvinphos    Ivan Rusyn
agents and endpoints
M5:4.4 Cancer susceptibility data              M5 Tetrachlorvinphos    Ivan Rusyn
M5:4.5 Other adverse effects                   M5 Tetrachlorvinphos    Matt Martin
M5:4.6 Mechanistic considerations              M5 Tetrachlorvinphos    Frank LeCurieux
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Section Title                                 Home Section             Author
M1:1.1 Chemical and physical data              M1 Malathion            Peter P. Egeghy
M1:1.2 Production and use                      M1 Malathion            Peter P. Egeghy
M1:1.3 Measurement and analysis                M1 Malathion            Peter P. Egeghy
M1:1.4 Occurrence and exposure                 M1 Malathion            Lin Fritschi
M1:1.5 Regulations and guidelines              M1 Malathion            Hans Kromhout
M1:2 Studies of cancer in humans               M1 Malathion            Isabelle Baldi
M1:3 Studies of cancer in experimental animals M1 Malathion            Gloria D. Jahnke
M1:4.1 Toxicokinetic data                      M1 Malathion            Matt Ross
M1:4.2.1 Genetic and related effects           M1 Malathion            Frank LeCurieux
M1:4.2.2 Receptor-mediated effects             M1 Malathion            Lauren Zeise
M1:4.2.3 Oxidative stress, inflammation and
                                               M1 Malathion            Ivan Rusyn
immunosuppression
M1:4.2.4 Altered cell proliferation            M1 Malathion            Lauren Zeise
M1:4.2.5 Other mechanisms                      M1 Malathion            Lauren Zeise
M1:4.3 Data relevant to comparisons across
                                               M1 Malathion            Matt Martin
agents and endpoints
M1:4.4 Cancer susceptibility data              M1 Malathion            Ivan Rusyn
M1:4.5 Other adverse effects                   M1 Malathion            Matt Martin
M1:4.6 Mechanistic considerations              M1 Malathion            Matt Martin

M2:1.1 Chemical and physical data              M2 Parathion            Peter P. Egeghy
M2:1.2 Production and use                      M2 Parathion            Peter P. Egeghy
M2:1.3 Measurement and analysis                M2 Parathion            Peter P. Egeghy
M2:1.4 Occurrence and exposure                 M2 Parathion            Lin Fritschi
M2:1.5 Regulations and guidelines              M2 Parathion            Hans Kromhout
M2:2 Studies of cancer in humans               M2 Parathion            John McLaughlin
M2:3 Studies of cancer in experimental animals M2 Parathion            Maria Consolato Sergi
M2:4.1 Toxicokinetic data                      M2 Parathion            Matt Ross
M2:4.2.1 Genetic and related effects           M2 Parathion            Frank LeCurieux
M2:4.2.2 Receptor-mediated effects             M2 Parathion            Lauren Zeise
M2:4.2.3 Oxidative stress, inflammation and
                                               M2 Parathion            Ivan Rusyn
immunosuppression
M2:4.2.4 Altered cell proliferation            M2 Parathion            Lauren Zeise
M2:4.2.5 Other mechanisms                      M2 Parathion            Lauren Zeise
M2:4.3 Data relevant to comparisons across
                                               M2 Parathion            Ivan Rusyn
agents and endpoints
M2:4.4 Cancer susceptibility data              M2 Parathion            Ivan Rusyn
M2:4.5 Other adverse effects                   M2 Parathion            Matt Martin
M2:4.6 Mechanistic considerations              M2 Parathion            Matt Ross

M3:1.1 Chemical and physical data              M3 Diazinon             Peter P. Egeghy
M3:1.2 Production and use                      M3 Diazinon             Peter P. Egeghy
M3:1.3 Measurement and analysis                M3 Diazinon             Peter P. Egeghy
M3:1.4 Occurrence and exposure                 M3 Diazinon             Teresa Rodriguez
M3:1.5 Regulations and guidelines              M3 Diazinon             Hans Kromhout
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M3:3 Studies of cancer in experimental animals M3 Diazinon             Gloria M. Calaf
M3:4.1 Toxicokinetic data                      M3 Diazinon             Matt Ross
M3:4.2.1 Genetic and related effects           M3 Diazinon             Frank LeCurieux
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Section Title                                Home Section              Author
M3:4.2.2 Receptor-mediated effects          M3 Diazinon                Lauren Zeise
M3:4.2.3 Oxidative stress, inflammation and
                                            M3 Diazinon                Ivan Rusyn
immunosuppression
M3:4.2.4 Altered cell proliferation         M3 Diazinon                Lauren Zeise
M3:4.2.5 Other mechanisms                   M3 Diazinon                Lauren Zeise
M3:4.3 Data relevant to comparisons across
                                            M3 Diazinon                Matt Martin
agents and endpoints
M3:4.4 Cancer susceptibility data           M3 Diazinon                Ivan Rusyn
M3:4.5 Other adverse effects                M3 Diazinon                Matt Martin
M3:4.6 Mechanistic considerations           M3 Diazinon                Lauren Zeise

M4:1.1 Chemical and physical data              M4 Glyphosate           Peter P. Egeghy
M4:1.2 Production and use                      M4 Glyphosate           Peter P. Egeghy
M4:1.3 Measurement and analysis                M4 Glyphosate           Peter P. Egeghy
M4:1.4 Occurrence and exposure                 M4 Glyphosate           Teresa Rodriguez
M4:1.5 Regulations and guidelines              M4 Glyphosate           Hans Kromhout
M4:2 Studies of cancer in humans               M4 Glyphosate           Francesco Forastiere
M4:3 Studies of cancer in experimental animals M4 Glyphosate           Charles (Bill) William Jameson
M4:4.1 Toxicokinetic data                      M4 Glyphosate           Matt Ross
M4:4.2.1 Genetic and related effects           M4 Glyphosate           Frank LeCurieux
M4:4.2.2 Receptor-mediated effects             M4 Glyphosate           Lauren Zeise
M4:4.2.3Oxidative stress, inflammation and
                                               M4 Glyphosate           Ivan Rusyn
immunosuppression
M4:4.2.4 Altered cell proliferation            M4 Glyphosate           Lauren Zeise
M4:4.2.5Other mechanisms                       M4 Glyphosate           Lauren Zeise
M4:4.3 Data relevant to comparisons across
                                               M4 Glyphosate           Matt Martin
agents and endpoints
M4:4.4Cancer susceptibility data               M4 Glyphosate           Ivan Rusyn
M4:4.5Other adverse effects                    M4 Glyphosate           Matt Martin
M4:4.6 Mechanistic considerations              M4 Glyphosate           Ivan Rusyn

M5:1.1 Chemical and physical data              M5 Tetrachlorvinphos    Peter P. Egeghy
M5:1.2 Production and use                      M5 Tetrachlorvinphos    Peter P. Egeghy
M5:1.3 Measurement and analysis                M5 Tetrachlorvinphos    Peter P. Egeghy
M5:1.4 Occurrence and exposure                 M5 Tetrachlorvinphos    Teresa Rodriguez
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M5:4.2.2 Receptor-mediated effects             M5 Tetrachlorvinphos    Lauren Zeise
M5:4.2.3 Other mechanisms                      M5 Tetrachlorvinphos    Lauren Zeise
M5:4.3 Data relevant to comparisons across
                                               M5 Tetrachlorvinphos    Ivan Rusyn
agents and endpoints
M5:4.4 Cancer susceptibility data              M5 Tetrachlorvinphos    Ivan Rusyn
M5:4.5 Other adverse effects                   M5 Tetrachlorvinphos    Matt Martin
M5:4.6 Mechanistic considerations              M5 Tetrachlorvinphos    Frank LeCurieux
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